 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 1 of 34 PageID #:1579




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

BOB A. BRINSON,

           Plaintiff,                      Case No. 17-cv-01659

      v.                                   Hon. John Z. Lee

WEXFORD HEALTH SOURCES, INC. et al.,

           Defendants.


                PLAINTIFF’S RESPONSE IN OPPOSITION TO
            DEFENDANTS’ MOTIONS FOR SUMMARY JUDGMENT
     Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 2 of 34 PageID #:1579




                                                     TABLE OF CONTENTS

                                                                                                                                             Page

INTRODUCTION .......................................................................................................................... 1
FACTS ............................................................................................................................................ 2
I.     Brinson’s PKD and the Settlement Agreement ....................................................................... 2
II. Defendants Fail to Provide Brinson with Medical Care.......................................................... 3
III. Defendants Facilitate and Approve Brinson’s Transfer to Menard ........................................ 4
IV. Brinson Requires Emergency Dialysis Through a Catheter in His Chest ............................... 5
V. Defendants Fail to Provide Brinson with Medical Care Following His
   Emergency Surgery ................................................................................................................. 6
LEGAL STANDARD ..................................................................................................................... 7
ARGUMENT .................................................................................................................................. 8
I.     A Dispute Exists With Respect to Plaintiff’s Eighth Amendment Claim ............................... 8
      A. Legal Standard.................................................................................................................. 8
      B. There is Evidence Pfister Acted with Deliberate Indifference to Brinson’s Medical
         Needs................................................................................................................................ 9
              1. Pfister was indifferent to the risk of Brinson’s failure to receive treatment ............... 9
              2. Pfister was indifferent to the risk of Brinson’s transfer to Menard ........................... 11
      C. There is Evidence Obaisi Acted with Deliberate Indifference to Brinson’s Medical
         Needs.............................................................................................................................. 12
              1. Obaisi was indifferent to the risk of serious harm from a delay in scheduling the
                 follow-up nephrology appointment at UIC ............................................................... 13
              2. Obaisi was indifferet to the risk of serious harm from lifting Brinson’s medical
                 hold ............................................................................................................................ 14
              3. Obaisi was indifferent to the risk of serious harm from delay in removing Brinson’s
                 chest catheter ............................................................................................................. 15
      D. There is Evidence Hutchinson Acted with Deliberate Indifference to Brinson’s Medical
         Needs.............................................................................................................................. 16
      E. There is Evidence Trost Acted with Deliberate Indifference to Brinson’s Medical
         Needs.............................................................................................................................. 20
              1. Trost acted with deliberate indifference to Brinson’s dietary needs ......................... 20
              2. Trost acted with deliberate indifference to the risk of delaying Brinson’s referral to a
                 vascular surgeon ........................................................................................................ 21


                                                                         i
   Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 3 of 34 PageID #:1579




II. A Dispute Exists With Respect to Plaintiff’s Breach of Contract Claim .............................. 23
      A. Legal Standard................................................................................................................ 23
      B. A Reasonable Jury Could Find That Wexford Breached the Settlement Agreement .... 24
             1. Breach by Failure to Follow UIC Recommendations ............................................... 24
             2. Breach by Failure to Arrange for Insertion of AV Graft ........................................... 25
             3. Breach by Failure to Make Sure A Renal Diet Was “In Place” ................................ 26
CONCLUSION ............................................................................................................................. 27




                                                                    ii
   Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 4 of 34 PageID #:1579




                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

Ames v. Randle,
  933 F. Supp. 2d 1028 (N.D. Ill. 2013) .....................................................................................19

Bentz v. Ghosh,
   718 F. App’x 413 (7th Cir. 2017) ............................................................................................22

Birch v. Jones,
   No. 02 CV 2094, 2004 WL 2125416 (N.D. Ill. Sept. 22, 2004) ..............................................11

Brady v. LaSalle Cty. Municipality,
   No. 1:14-cv-5545, 2019 WL 2754091 (N.D. Ill. June 28, 2019).............................................21

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) ...................................................................................................................7

Fabrica de Tejidos Imperial, S.A. v. Brandon Apparel Grp., Inc.,
   218 F. Supp. 2d 974 (N.D. Ill. 2002) .................................................................................23, 24

Greeno v. Daley,
   414 F.3d 645 (7th Cir. 2005) ...........................................................................................8, 9, 15

Hill v. Tangherlini,
    724 F.3d 965 (7th Cir. 2013) ...................................................................................................17

Lopez v. Obaisi,
   No. 14 CV 7497, 2015 WL 9304352 (N.D. Ill. Dec. 22, 2015) ..............................................10

Payne v. Pauley,
   337 F.3d 767 (7th Cir. 2003) ...............................................................................................7, 17

Riley-El v. Godinez,
    No. 13 C 8656, 2015 WL 4572322 (N.D. Ill. July 27, 2015) ............................................18, 19

Roe v. Elyea,
   631 F.3d 843 (7th Cir. 2011) .................................................................................14, 15, 21, 22

Sharif v. Ghosh,
   No. 12 C 2309, 2013 WL 228239 (N.D. Ill. Jan. 18, 2013) ....................................................20

Sherrod v. Lingle,
   223 F.3d 605 (7th Cir. 2000) ...................................................................................................10




                                                                   iii
   Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 5 of 34 PageID #:1579




Spierer v. Rossman,
   798 F.3d 502 (7th Cir. 2015) .....................................................................................................7

T.E. v. Grindle,
   599 F.3d 583 (7th Cir. 2010) ...................................................................................................19

Whiting v. Wexford Health Sources, Inc.,
   839 F.3d 658 (7th Cir. 2016) ...................................................................................................14

Wilson v. McRae’s, Inc.,
   413 F.3d 692 (7th Cir. 2005) ...................................................................................................17

Zaya v. Sood,
   836 F.3d 800 (7th Cir. 2016) .................................................................................14, 16, 21, 23

Other Authorities

U.S. Const. amend. VIII.............................................................................................................8, 18




                                                                   iv
  Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 6 of 34 PageID #:1579




                                      INTRODUCTION

       This case principally involves a 14-month period during which defendants Wexford

Health Sources, Inc. (“Wexford”), Saleh Obaisi, Randy Pfister, John Trost, and Jeffrey

Hutchinson prevented Plaintiff Bob A. Brinson, a prisoner then incarcerated at Stateville

Correctional Center (“Stateville”), from receiving constitutionally adequate treatment for his

Polycystic Kidney Disease (“PKD”). This period was touched off by a July 29, 2016

appointment with kidney specialists at the University of Illinois at Chicago hospital (“UIC”)

where they concluded that Brinson had reached Stage V PKD, would soon need to start dialysis,

and would require a follow-up appointment within four weeks.

       But instead of adhering to that recommendation, Defendants—individually and acting

together—prevented Brinson from receiving any medical care at all until December 2016, after

which they again ignored specialists’ recommendations. Indeed, there is evidence in the record

as to each of the following acts and omissions from which a reasonable jury could find that the

individual Defendants acted with deliberate indifference to Brinson’s medical needs and

Wexford breached its contractual obligation to him:

             Defendants Wexford and Dr. Saleh Obaisi, whose estate is now a defendant, were
              Brinson’s sole medical providers at Stateville, and their conduct prevented
              Brinson from having his critical follow-up appointment within four weeks of July
              29, 2016.

             Brinson sought help from Defendant Randy Pfister, then warden at Stateville, to
              get to UIC, but Pfister did nothing to help Brinson get access to medical care.

             While failing to get medical care for Brinson, Obaisi and Pfister affirmatively
              caused Brinson further harm by arranging his transfer from Stateville to Menard
              Correctional Center (“Menard”), disrupting his nephrology treatment at UIC
              during this critical period and sending him to a prison that did not have on-site
              dialysis.

             Once at Menard, Defendants Jeffrey Hutchinson, Menard’s warden, and John
              Trost, Menard’s medical director, failed to take steps to secure a medically
              necessary renal diet for Brinson, notwithstanding Brinson’s advanced PKD.


                                               1
    Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 7 of 34 PageID #:1579




               By the time Brinson received a nephrology appointment after his transfer, his
                need for dialysis was so critical he had to have urgent surgery for a catheter to be
                inserted into his chest. Though the catheter was a temporary solution and his
                surgeon recommended Brinson be evaluated for a permanent dialysis access point
                two to four weeks later, Trost, Obaisi, and Wexford each prevented Brinson from
                receiving the permanent access point until September 2017, despite knowing the
                risk of infection presented by his catheter.

         This evidence creates a genuine issue of material fact that must be resolved at trial

because it shows the individual Defendants knew Brinson faced serious harm, and either did

nothing or affirmatively prevented his care. As for Wexford, the evidence shows it breached its

obligations under a 2014 settlement agreement with Brinson that required Wexford to follow

specialist recommendations and ensure a renal diet was in place for Brinson while he was at

Menard. There is thus no basis for an award of summary judgment in Defendants’ favor.

                                                 FACTS

    I.       Brinson’s PKD and the Settlement Agreement

         Sixty-one-year-old Brinson has been imprisoned at Stateville since 2009. Before his

incarceration, when he was around 43 years old, Brinson was diagnosed with PKD, a serious,

chronic illness that ultimately leads to kidney failure and the need for transplant or dialysis. To

control the symptoms of his PKD and conserve kidney function, Brinson must be under the care

of a nephrologist. The treatment protocol his nephrologist has consistently recommended

includes a low-potassium, low-salt, low-phosphorus, healthy diet rich in fruits and vegetables,

grains, fiber, white meat, and vegetable protein, known as a “renal diet.” (PSOF ¶¶ 1–2.)1

         Wexford is the private corporation that contracts with the State to provide healthcare to

prisoners in Illinois custody. In 2014, Brinson and Wexford entered into a settlement agreement

to resolve a 2011 civil rights lawsuit arising from Wexford employees’ failure to provide Brinson


1
  Citations to “PSOF” refer to Plaintiff’s Statement of Additional Facts filed concurrently with this
response.


                                                     2
    Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 8 of 34 PageID #:1579




with constitutionally required medical care for his PKD. (PSOF ¶ 3.) Going forward, the

settlement agreement required Wexford to bring Brinson to UIC for treatment by a nephrologist,

and to “follow all medical plans and/or recommendations . . . made by UIC specialists relative to

Plaintiff’s PKD . . . at any time.” In addition, the contract required Wexford to “ensure that a

Therapeutic Diet Order for a renal diet . . . is ordered and in place” for Brinson as long as his

nephrologist recommended it. (PSOF ¶ 4; Wexford SOF ¶ 2.)2

    II.      Defendants Fail to Provide Brinson with Medical Care

          Brinson began receiving treatment from UIC specialists in 2014 after the settlement

agreement was in place; and he also received a renal diet order at Stateville. Before long,

however, he began to miss follow-up appointments recommended by his doctors. By July 29,

2016, Brinson’s primary nephrologist, Dr. Ana Ricardo, told him he was nearing kidney failure

and would soon need to begin dialysis. Her plan was to closely monitor Brinson in the coming

weeks so he could undergo surgery to receive a permanent dialysis access point—called an

arteriovenous or “AV” graft—just before beginning dialysis. The UIC clinic initially

recommended Brinson return within six weeks of his July appointment. But after seeing the

reports from his lab work, Dr. Ricardo, shortened the timeframe and requested Brinson’s return

in four weeks. (PSOF ¶¶ 7–12.)

          Stateville’s medical director, Defendant Dr. Saleh Obaisi, received paperwork from the

UIC clinic memorializing the July appointment, the recommendation that Brinson return to UIC

in four weeks, and the recommendation that he continue to receive his renal diet. Obaisi agreed

with the recommendations, approved them, and passed them along to Wexford’s corporate

review department, Utilization Management. Obaisi asked for, and received, Wexford’s approval


2
 Citations to “Wexford SOF” refer to the Wexford Defendants’ Rule 56.1 Statement of Undisputed
Material Facts, ECF No. 130.


                                                 3
  Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 9 of 34 PageID #:1579




for Brinson to return to UIC in six weeks. But Brinson never went to UIC in August. Nor did he

return to the clinic in September, October, or November. (PSOF ¶ 18.)

          Knowing he was nearing—or already suffering from—kidney failure, Brinson pleaded

with Obaisi and Stateville’s warden, Defendant Randy Pfister, for help getting back to UIC. He

sent medical grievances and talked to Pfister in person on several occasions, describing his

condition and asking for medical care. Pfister did nothing. Behind the scenes, Wexford and

Obaisi were indifferent as well. In mid-September, Wexford flagged that Brinson wasn’t

scheduled to return to UIC until December, and its corporate department reached out to Obaisi to

ask if that was acceptable. Obaisi confirmed that he approved of the delay. (PSOF ¶¶ 20–22.)

   III.      Defendants Facilitate and Approve Brinson’s Transfer to Menard

          Brinson’s health rapidly deteriorated between July and November, and he was left

languishing in his cell, fearing he would die. Instead of securing medical care for him during this

period, Pfister and Obaisi did the opposite: they took affirmative steps to undermine his care.

Toward the end of 2016, Brinson’s cell house—a building known at Stateville as “F-House”—

was slated to close. Since he began his care at UIC, Brinson had been subject to a “medical

hold,” a status in a prisoner’s file that Wexford was contractually obligated to use to prevent

prisoners with medical conditions from being transferred if the transfer would interfere with his

continuing care or treatment plan. Unbeknownst to Brinson, in October, Obaisi lifted the medical

hold from Brinson’s file to facilitate Pfister’s decision to transfer Brinson to Menard, more than

300 miles south of Stateville. (PSOF ¶¶ 23–25.)

          For his part, Brinson learned of the transfer from a correctional officer making rounds in

F-House on November 20, 2016, the night before the transfer was scheduled to occur. Brinson

suffered a mental breakdown on hearing the news, and asked to speak to a member of the




                                                  4
    Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 10 of 34 PageID #:1579




prison’s crisis team. He explained his precarious health to the crisis team member and told her he

was three months overdue for his nephrology appointment and should have a medical hold in

place. Through a nurse in the health care unit, the crisis team member contacted Obaisi. Obaisi

knew the transfer would cause Brinson to miss his December appointment at UIC, that it would

abruptly sever his continuing treatment at UIC, and that on-site dialysis is not available at

Menard. Yet he confirmed the transfer could proceed. (PSOF ¶¶ 28–32.)

     IV.      Brinson Requires Emergency Dialysis Through a Catheter in His Chest

           Brinson arrived at Menard the next day, November 21, 2016. (IDOC SOF ¶ 12.)3 During

the intake process, Brinson requested his renal diet and explained his medical situation. Brinson

was flagged for an urgent visit to the medical director, Dr. John Trost. Trost told Brinson that no

renal diet was available at Menard. Brinson appealed to Menard’s warden, Jeffrey Hutchinson.

Brinson talked to Hutchinson in person on several occasions, wrote him a letter, and sent an

emergency grievance, all explaining he had PKD and pleading for a renal diet. At the same time,

Hutchinson began receiving emails from IDOC staff noting that Brinson was among a group of

prisoners on medical holds who were transferred to Menard and would need to be sent back to

Stateville. Hutchinson recognized the seriousness of Brinson’s medical condition; but he did

nothing to help Brinson get a renal diet upon learning from Brinson that Brinson was being told

renal diets were unavailable at Menard. (PSOF ¶¶ 40–54.)

           Trost too recognized the seriousness of Brinson’s condition. Trost referred Brinson to a

community clinic, where he was examined by nephrologist Dr. Muhammad Kamran on

December 8, 2016. Brinson’s lab reports and symptoms showed his kidneys had failed. Kamran

determined he needed dialysis immediately. Kamran noted that Brinson was suffering from,


3
 Citations to “IDOC SOF” refer to Defendants’ Rule 56.1 Statement of Undisputed Facts filed by
Hutchinson and Pfister, ECF No. 128.


                                                  5
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 11 of 34 PageID #:1579




among other things, nausea, loss of appetite, night sweats, fatigue, headaches, bloody noses,

difficulty swallowing, shortness of breath, bloody coughing, diarrhea, blood in his stool, painful

and bloody urination, incontinence, swelling, weakness, and pain in his muscles, joints, low

back, chest, and abdomen. (PSOF ¶¶ 55–58.)

        Brinson asked Kamran to send him back to UIC for his AV graft so he could start

dialysis; but it was too late. Instead, Kamran recommended a surgeon place an emergency

catheter into Brinson’s chest connecting to his jugular vein. On December 27, 2016, Brinson

underwent the emergency surgery and received dialysis through the tunneled catheter. The

surgeon, Dr. Lyman Hale, recommended Brinson see a vascular surgeon two to four weeks later

so the catheter could be replaced by a permanent dialysis access site. This is because a tunneled

catheter is a temporary dialysis access point that should not be used for more than 90 days and,

ideally, would never be used. Indeed, because the catheter is a foreign object protruding from the

body, it presents a high risk of infection and blood clots to dialysis patients. (PSOF ¶¶ 60–64.)

   V.      Defendants Fail to Provide Brinson with Medical Care Following His Emergency
           Surgery

        Brinson returned to Menard after his surgery. Fearing the risk of infection, Trost ordered

that Brinson remain in the infirmary. On December 22, 2016, Trost approved the surgeon’s

recommendation for a vascular consultation. Trost asked for Wexford’s signoff, indicating the

request was “urgent,” and Wexford approved the referral. But shortly thereafter, around January

11, 2017, Trost changed his mind. He recommended that Brinson’s appointment for an AV graft

be canceled since Brinson would eventually go back to Stateville. (PSOF ¶¶ 65–67.)

        Brinson returned to Stateville on January 29, 2017. The next day, Obaisi requested

Wexford’s approval to send Brinson to the vascular access clinic at UIC for his AV graft; and

Wexford again approved. And again, Obaisi and Wexford washed their hands of Brinson after



                                                 6
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 12 of 34 PageID #:1579




signing the paperwork. For months, while he was living in a general population cell at Stateville,

Brinson received dialysis through the temporary catheter protruding from his chest three times

per week. On September 18, 2017—more than a year after missing his UIC nephrology

appointment and more than nine months after receiving the tunneled catheter—Brinson finally

underwent surgery for an AV graft. (PSOF ¶¶ 68–73.)

       The ordeal Defendants subjected Brinson to cost him greatly. In addition to the grave

impact on his health and severe and prolonged risk of infection and blood clot he faced from

receiving dialysis through a temporary chest catheter while in prison, Brinson experienced severe

emotional distress and anxiety that continue to this day. In his words: “I almost died. And for,

like, two or three months it was real—real hectic. It was real scary because it was [] like, we

don’t care. Just throw you in the cell. And I couldn’t see no one. I couldn’t get no medical

attention or nothing. There was nothing I could do physically about it.” (PSOF ¶¶ 74–81.)

                                     LEGAL STANDARD

       To receive summary judgment, Defendants must show that there is no genuine dispute

about the material facts, and that, “drawing all inferences in the light most favorable to the non-

moving party, . . . [Defendants are] entitled to judgment as a matter of law.” Spierer v. Rossman,

798 F.3d 502, 507 (7th Cir. 2015); see also Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986).

In adjudicating a summary judgment motion, the Court may not make any credibility

determinations, as those must be left for the jury. Anderson v. Liberty Lobby, Inc. 477 U.S. 242,

255 (1986). If, from the evidence in the record, a reasonable jury could find for the plaintiff as

the non-moving party, the Court must deny the defendant’s summary judgment motion. See

Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003).




                                                7
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 13 of 34 PageID #:1579




                                          ARGUMENT

        Because material facts remain in dispute with respect to Brinson’s deliberate indifference

and breach of contract claims, Defendants are not entitled to summary judgement on any count

of the Amended Complaint. (ECF No. 70.) Instead, this case must proceed to trial on every claim

against every defendant so that a jury may resolve the factual disputes and determine liability.

   I.      A Dispute Exists With Respect to Plaintiff’s Eighth Amendment Claim

               A.      Legal Standard

        “Prison officials violate the Eighth Amendment’s proscription against cruel and unusual

punishment when they display ‘deliberate indifference to serious medical needs of prisoners.’”

Greeno v. Daley, 414 F.3d 645, 652–53 (7th Cir. 2005) (quoting Estelle v. Gamble, 429 U.S. 97,

104 (1976)). To prevail on a deliberate indifference claim, a plaintiff must satisfy both an

objective and a subjective test. “To satisfy the objective component, a prisoner must demonstrate

that his medical condition is ‘objectively, sufficiently serious.’ A serious medical condition is

one that has been diagnosed by a physician as mandating treatment or one that is so obvious that

even a lay person would perceive the need for a doctor’s attention.” Greeno, 414 F.3d at 653

(internal citations and quotations omitted). Here, Defendants do not challenge the evidence of the

objective component, that Brinson’s PKD amounted to a serious medical condition. Nor could

they: even Defendants admit that Plaintiff’s PKD required medical treatment. (PSOF ¶¶ 1–4.)

        To prevail on the subjective component of an Eighth Amendment deliberate indifference

claim, “a prisoner must demonstrate that prison officials acted with a ‘sufficiently culpable state

of mind,’” meaning the officials “know of and disregard an excessive risk to inmate health.”

Greeno, 414 F.3d at 653 (quoting Farmer v. Brennan, 511 U.S. 825, 834 (1994)). The Seventh

Circuit has explained that a plaintiff need not “establish that officials intended or desired the




                                                 8
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 14 of 34 PageID #:1579




harm that transpired. Instead, it is enough to show that the defendants knew of a substantial risk

of harm to the inmate and disregarded the risk. Additionally, a factfinder may conclude that a

prison official knew of a substantial risk from the very fact that the risk was obvious.” Greeno,

414 F.3d at 653 (internal citations and quotations omitted). The record contains sufficient

evidence to permit a jury to find that each individual defendant is liable for deliberate

indifference under this standard.

               B.     There is Evidence Pfister Acted with Deliberate Indifference to
                      Brinson’s Medical Needs

       A reasonable jury could find two instances of Pfister acting with deliberate indifference

to Brinson’s medical needs. First, in the critical period after July 29, 2016, when Brinson was at

Stage V PKD, Pfister did nothing to secure medically necessary, physician-recommended

treatment for Brinson. Second, Pfister caused Brinson’s transfer from Stateville to Menard in

November 2016, which interfered with Brinson’s ongoing care for his PKD.

                      1. Pfister was indifferent to the risk of Brinson’s failure to receive
                         treatment

       Pfister knew that Brinson was not receiving necessary medical treatment, in particular a

critical follow-up appointment after Brinson’s July 29, 2016 visit to UIC. Brinson spoke with

Pfister on three or four occasions about his kidney condition and missed medical appointments at

UIC. (PSOF ¶ 20; Resp. to IDOC SOF ¶¶ 25–26). During these conversations, Brinson explained

to Pfister that he was in the last stage of kidney disease and that he required––but was not

receiving—ongoing medical care, including being taken to UIC for a follow-up appointment, as

recommended by UIC nephrologists. (IDOC SOF ¶¶ 27–30.) Brinson also told Pfister, in the fall

of 2016, that he was in severe pain due to his PKD. (IDOC SOF ¶ 29.) On the last occasion

Brinson spoke with Pfister, he reminded Pfister that he was in the last stage of kidney disease

and that he was in severe pain, and told him that he had not seen his doctor at UIC for six


                                                9
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 15 of 34 PageID #:1579




months. (PSOF ¶¶ 20, 35.) During each of these conversations, Pfister told Brinson that he would

follow up with medical about Brinson’s treatment. (IDOC SOF ¶¶ 27–30.)

       A reasonable jury could infer that Pfister acted with deliberate indifference to Brinson’s

serious medical needs by failing to take any meaningful steps to address Brinson’s missed

medical appointments. That can be found from the evidence that Brinson was never brought back

to UIC after July 2016 and before being transferred to Menard. See Sherrod v. Lingle, 223 F.3d

605, 612 (7th Cir. 2000) (the standard is “whether the official knew of and disregarded an

excessive risk to the inmate’s health, not whether the inmate was ignored”). Moreover, the

record is devoid of any evidence that Pfister contacted any medical provider or prison personnel

to inquire about Brinson’s medical needs and/or his missed appointments. Pfister’s argument that

Brinson does not know what Pfister did after each of their conversations (ECF No. 127 at 10)

falls flat in light of his inability to produce evidence—including his own testimony—that he did

anything to help Brinson get the medical care he needed. On the contrary, the record supports the

inference that Pfister simply ignored Brinson’s need for help in getting the medical team to

address his very serious medical issues. (PSOF ¶ 21.)

       Given Pfister’s direct knowledge of Brinson’s PKD and lack of treatment, he cannot

avoid liability by pointing the finger at medical personnel or his own subordinates. (ECF No. 127

at 10.) See Lopez v. Obaisi, No. 14 CV 7497, 2015 WL 9304352, at *2 (N.D. Ill. Dec. 22, 2015)

(“non-medical officials can be chargeable with deliberate indifference where they have a reason

to believe (or actual knowledge) that prison doctors or their assistants are mistreating (or not

treating) a prisoner”). Moreover, Pfister was responsible for everything going on inside

Stateville, including the grievance officers who reviewed medical grievances and who responded

to medical grievances in Pfister’s name. (IDOC SOF ¶¶ 36–7, 39; Resp. to IDOC SOF ¶¶ 20, 38,




                                               10
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 16 of 34 PageID #:1579




40, 41.) See Birch v. Jones, No. 02 CV 2094, 2004 WL 2125416, at *7 (N.D. Ill. Sept. 22, 2004)

(recognizing that “[t]hose signing the warden’s name effectively act as his agent and their actions

are accordingly attributable to him”). Pfister also admitted that he often heard complaints from

inmates about medical care, and that he intervened on behalf of inmates to ensure that they

obtained appropriate medical care. (PSOF ¶ 21; Resp. to IDOC SOF ¶¶ 19–20.) Moreover, there

is no evidence that, with respect to Brinson, Pfister asked medical personnel whether, in their

medical judgment, Brinson’s follow-up with UIC nephrology should be delayed. (And, as

discussed below, Obaisi did not exercise any medical judgment when he delayed Brinson’s

follow-up appointment.)

                      2. Pfister was indifferent to the risk of Brinson’s transfer to Menard

       A reasonable jury could find from the record evidence that Pfister knew UIC physicians

were treating Brinson for Stage V PKD, and that transferring Brinson to Menard would interfere

with that treatment. Indeed, just a few days before Brinson was transferred from Menard,

Brinson raised this very issue with Pfister, telling Pfister that he believed he was on a medical

hold, was in the last stage of renal disease and would soon require dialysis, and had been missing

medical appointments at UIC where kidney specialists were supposed to have been closely

monitoring him. (PSOF ¶ 35; IDOC SOF ¶ 30.)

       A reasonable jury could also find that Pfister deliberately ignored Brinson’s medical

needs because he designated Brinson for transfer to Menard despite knowing Brinson’s ongoing

PKD treatment would be jeopardized by the move. The reasonableness of such a finding is

underscored by the fact that Pfister was directly involved in the transfer and in the closing of F-

House, which was the precipitating event for Brinson’s transfer. Pfister testified that he

personally monitored the transfer of inmates housed in F-House. (PSOF ¶ 36.) He worked

closely with the transfer coordinator and clinical services at the prison to facilitate prisoners’


                                                11
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 17 of 34 PageID #:1579




transfers, and he helped formulate the criteria used to determine which inmates would be moved

and who would stay. (PSOF ¶ 36.) In addition, Pfister failed to apprise IDOC of Brinson’s

medical needs and ongoing treatment, which would have caused the transfer coordinator’s office

to question its approval of Brinson’s transfer. (PSOF ¶ 39.) In view of this evidence, there is a

question of fact over Pfister’s assertion that he was “not directly involved” with the inmate

transfers that occurred upon the closing of F-House. (ECF No. 127 at 6.)

       There is also a question of fact over Pfister’s claim that Dr. Obaisi was solely responsible

for Brinson’s transfer to Menard. (ECF No. 127 at 5–6.) First, there is no evidence that Pfister

actually deferred to or relied upon Obaisi’s medical judgment in any way, so there is no support

for Pfister’s claim that this purported fact is uncontested. Second, the fact is contested by the

Wexford Defendants, who contend that Brinson’s transfer was “in all aspects controlled by

IDOC.” (ECF No. 131 at 9.) Third, Pfister had independent knowledge of Brinson’s condition

and medical needs, and was obligated to address those needs, here by keeping Brinson at

Stateville. As such, Pfister has not shown he is absolved from liability flowing from Brinson’s

transfer to Menard.

       In view of the evidence, a reasonable jury could return a verdict against Pfister. His

motion for summary judgment should be denied.

              C.      There is Evidence Obaisi Acted with Deliberate Indifference to
                      Brinson’s Medical Needs

       A reasonable jury could find three instances of Obaisi acting with deliberate indifference

to Brinson’s medical needs. First, Obaisi caused a scheduling delay on a critical follow-up

appointment with UIC nephrology. Second, Obaisi lifted the medical hold on Brinson, which

caused Brinson to be transferred from Stateville to Menard in November 2016 and, in turn,

caused Brinson to miss his follow-up appointment with UIC nephrology and interfered with



                                               12
  Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 18 of 34 PageID #:1579




Brinson’s ongoing treatment at UIC. Third, after Brinson returned to Stateville, Obaisi delayed in

getting Brinson surgery to remove his chest catheter, which presented an ongoing and serious

risk of infection.

                      1. Obaisi was indifferent to the risk of serious harm from a delay in
                         scheduling the follow-up nephrology appointment at UIC

         Brinson needed to return to UIC within four weeks of July 29, 2016 for a follow-up

nephrology appointment. Because his PKD was so advanced, and he would soon need to go on

dialysis, having a follow-up appointment as close to the four week mark as possible was critical

for Brinson’s medical care, and Brinson faced risk of serious harm without it.

         A reasonable jury could find that Obaisi knew Brinson faced risk of serious harm the

longer he went without a follow-up to his July 29, 2016 appointment. The notes from that

appointment reflect that Brinson was at Stage V PKD as of July 29, 2016, that he would soon

need to go on dialysis, and that Dr. Charkravarty, the fellow who works under Dr. Ricardo’s

supervision, recommended a six-week turnaround for a follow-up appointment. (PSOF ¶ 8.)

Obaisi was also aware that Dr. Ricardo determined that six weeks was too long given Brinson’s

deteriorating condition, and that she shortened the timeframe for a follow-up appointment to just

four weeks. (PSOF ¶¶ 10–12.) For his part, Obaisi, before Ricardo shortened the follow-up

timeframe, requested that Wexford approve a follow-up appointment within six weeks. (PSOF

¶ 17.)

         A reasonable jury could find that Obaisi deliberately ignored the risk to Brinson by

causing a scheduling delay of the follow-up nephrology appointment. On September 12, 2016,

Wexford’s Utilization Management team discovered that Brinson had been scheduled for a

follow-up appointment in December 2016, over three months after the four-week timeframe

Ricardo recommended (August 26, 2016). (PSOF ¶ 22.) Utilization Management asked Obaisi



                                               13
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 19 of 34 PageID #:1579




whether he approved of this scheduling delay, and Obaisi said yes. (See id.) A reasonable jury

could find that by approving the delay, Obaisi deliberately ignored the UIC specialists’

recommendations and the serious risk to Brinson from having to wait until December for a

nephrology appointment that was supposed to happen by August 26, 2016. See Zaya v. Sood, 836

F.3d 800, 806 (7th Cir. 2016) (“A jury can infer conscious disregard of a risk from a defendant’s

decision to ignore instructions from a specialist”). Moreover, Obaisi knew better than to delay

Brinson’s appointment, which is further evidence that he deliberately ignored the risk of serious

harm to Brinson. See Whiting v. Wexford Health Sources, Inc., 839 F.3d 658, 662–63 (7th Cir.

2016) (“‘where evidence exists that the defendant[ ] knew better than to make the medical

decision[ ] that [he] did,’ then summary judgment is improper and the claim should be submitted

to a jury”) (alteration in original). Furthermore, there is no evidence that Obaisi’s approval of a

December 2016 appointment was based on his medical judgment that a scheduling delay was

appropriate. (PSOF ¶ 22.) See Roe v. Elyea, 631 F.3d 843, 862 (7th Cir. 2011).

                      2. Obaisi was indifferent to the risk of serious harm from lifting
                         Brinson’s medical hold

       Obaisi also deliberately ignored the risk of serious harm to Brinson when he lifted the

medical hold that was in place to prevent Brinson from being transferred from Stateville. The

evidence reflects that Brinson was on a hold as of at least June 2014. (PSOF ¶ 24.) Specifically,

Obaisi had twice told Brinson that he was on a medical hold; a note from a Stateville counselor

reflected that Brinson was on a hold; the Wexford-IDOC contract required a medical hold for an

inmate undergoing treatment (which Wexford’s corporate representative acknowledged was the

case for Brinson); a post-transfer IDOC email notes that medical holds were lifted on Brinson

and other inmates to facilitate their transfer to Menard; and Obaisi wrote on an Offender

Outpatient Progress Note in Brinson’s medical record dated October 11, 2016 “dc medical hold,”



                                                14
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 20 of 34 PageID #:1579




meaning “discontinue medical hold.” (PSOF ¶¶ 37, 52.) In addition to the progress note

documenting Obaisi’s order to discontinue the hold, evidence that Obaisi caused Brinson’s

transfer includes a nurse’s medical record and testimony that Obaisi told her Brinson could be

transferred to Menard.

       By lifting the medical hold and authorizing Brinson’s transfer to Menard, Obaisi

deliberately ignored the serious risk to Brinson from a further delay in receiving his nephrology

appointment. Obaisi knowingly caused Brinson to miss his December 2016 appointment at UIC,

and also caused Brinson to stop receiving treatment by UIC nephrologists, which Obaisi knew

would interfere with Brinson’s ongoing care. Underscoring his deliberate indifference is that

there is no evidence Obaisi exercised medical judgment in lifting the medical hold. See Roe, 631

F.3d at 862.

                         3. Obaisi was indifferent to the risk of serious harm from delay in
                            removing Brinson’s chest catheter

       Obaisi’s deliberate indifference toward Brinson’s medical needs resumed when Brinson

returned to Stateville on January 29, 2017 with the tunneled catheter protruding from his chest.

Obaisi knew that Brinson faced a risk of infection from the catheter as the risk was obvious.

Greeno, 414 F.3d at 653 (objective component of deliberate indifference satisfied when a

plaintiff faces a risk “so obvious that even a lay person would perceive the need for a doctor’s

attention”). In addition, Dr. Lyman Hale, the surgeon who inserted the catheter on December 27,

2016, recommended that Brinson be evaluated by a vascular surgeon within two to four weeks.

Knowing that Brinson needed treatment for the catheter, on January 30, 2017, the day after

Brinson returned to Stateville, Obaisi requested that Wexford Utilization Management schedule

Brinson for vascular surgery to insert an AV graft and remove the chest catheter. (PSOF ¶ 69.)

       But Obaisi stood idly by while Brinson went months without receiving the needed



                                               15
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 21 of 34 PageID #:1579




referral. Brinson did not see a vascular surgeon until July 26, 2017 and did not receive an AV

graft until September 18, 2017. Obaisi took no steps, after requesting that Wexford schedule an

appointment for Brinson with a vascular surgeon, to make sure that Brinson received an AV graft

and had the catheter removed as soon as possible. Brinson accordingly faced a significant risk of

infection for the eight months he was at Stateville with a chest catheter instead of an AV graft.

Obaisi exacerbated this risk of infection by keeping Brinson in the general prison population

rather than in the infirmary, as Dr. Trost had done at Menard. A reasonable jury could find

deliberate indifference from this evidence that Obaisi ignored Dr. Hale’s recommendation. See

Zaya, 836 F.3d at 806.

   D. There is Evidence Hutchinson Acted with Deliberate Indifference to Brinson’s
      Medical Needs

       The record also contains sufficient evidence to permit a reasonable jury to find Warden

Jeffrey Hutchinson liable for deliberate indifference because he knew Brinson was not receiving

a renal diet at Menard, but did nothing to help Brinson secure the diet.

       The record is replete with evidence that Hutchinson knew about Brinson’s condition,

need for treatment, and failure to receive medical attention or a renal diet. Brinson testified that

he personally told Hutchinson at least three times that he suffered from PKD; should not have

been transferred to Menard; and should be on a medical diet. Brinson further testified that he told

Hutchinson he was in pain from his kidneys and was supposed to have started dialysis at

Stateville; he’d been missing his doctor appointments; and at his last UIC appointment, Dr.

Ricardo had told him that the following month (August 2016) she was going to place an artificial

graft in his arm so he could start dialysis. (IDOC SOF ¶¶ 53–55; PSOF ¶ 46.) According to

Brinson, the first time Hutchinson saw him at Menard, Hutchinson told Brinson he looked sick

and Hutchinson could tell he was in a lot of pain. Brinson also testified that he wrote Hutchinson



                                                16
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 22 of 34 PageID #:1579




a letter the first or second day he was at Menard explaining he needed a renal diet; and

Hutchinson acknowledged receiving the letter during a subsequent in-person conversation.

(PSOF ¶ 48.)

       In his motion, Hutchinson takes the meritless position that “there is no evidence to

support that the conversations took place.” (ECF No. 127 at 9.) Of course, Brinson’s testimony is

evidence the Court must construe in his favor—without making a credibility determination—in

deciding whether a disputed fact exists. See, e.g., Payne, 337 F.3d at 771 (rejecting defendant’s

argument that plaintiff’s deposition testimony is insufficient to overcome summary judgment,

characterizing claim as “simply another way of saying that her testimony is not credible”); see

also Wilson v. McRae’s, Inc., 413 F.3d 692, 694 (7th Cir. 2005) (“Most affidavits are self-

serving, as is most testimony, and this does not permit a district judge to denigrate a

plaintiff’s evidence when deciding whether a material dispute requires trial.”); Hill v.

Tangherlini, 724 F.3d 965, 967 (7th Cir. 2013) (holding a plaintiff may rely on self-serving

evidence to create a material factual dispute and overruling cases suggesting the contrary).

Moreover, though Hutchinson claimed not to recall speaking with Brinson, he conceded at his

deposition that he was warden at Menard while Brinson was there, and that he had a practice of

making rounds in the cell houses and talking to prisoners. This evidence, alongside Brinson’s

testimony that the conversations occurred, is sufficient to create a disputed fact for a jury’s

determination. See Payne, 337 F.3d at 778 (“It is the job of the jury, and not the district court

judge at summary judgment, to determine which party’s evidence to credit.”)

       What is more, Hutchinson acknowledged that on December 7, 2016, he received,

reviewed, and signed Brinson’s emergency grievance reporting that Brinson (a) was in end stage

renal disease; (b) was supposed to have started dialysis before his transfer to Menard; (c) missed




                                               17
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 23 of 34 PageID #:1579




his specialist appointments at UIC before being transferred; and (d) was suffering pain. (IDOC

SOF ¶ 63; PSOF ¶ 49.) Hutchinson testified that he thought the grievance had merit and needed

to be addressed by medical director John Trost on an expedited basis as it appeared Brinson’s

condition was serious. (IDOC SOF ¶ 64; PSOF ¶ 50.) In addition, Hutchinson acknowledged that

on December 8, 2016, he read an email with the subject “Brinson A82298” alerting him that

Menard received more than a dozen prisoners from Stateville who had been on medical holds,

but were nonetheless transferred. (PSOF ¶ 52.) These facts undermine Hutchinson’s dubious

claim that he was “not aware of Plaintiff’s medical condition.” (ECF No. 127 at 7.) And the facts

certainly create a sufficient basis for a reasonable jury to find Hutchinson knew about Brinson’s

serious medical need and inability to get his medical diet at Menard.

       The record also establishes that despite this knowledge, Hutchinson failed to take

reasonable measures to ensure Brinson received the appropriate diet. Hutchinson argues he is

absolved from liability for deliberate indifference because he “expedited” Brinson’s emergency

grievance “so that it would go directly to the medical department to look into the matter.” (ECF

No. 127 at 9; see also id. at 5 (“Given that Plaintiff’s renal diet was a medical decision,

Defendant Hutchinson properly deferred to Dr. Trost’s judgment.”).) That claim fails as a matter

of law and fact. The Eighth Amendment does not permit a prison warden to disavow his

responsibility to care for prisoners in his custody where he knows those prisoners aren’t getting

adequate medical care. In Riley-El v. Godinez, No. 13 C 8656, 2015 WL 4572322, at *6 (N.D.

Ill. July 27, 2015), for example, this Court rejected the argument the warden raises here: that he

cannot be liable to the plaintiff as a matter of law because he had no personal involvement the

prisoner’s medical care. In denying the warden’s motion to dismiss, the Riley-El Court affirmed

the viability of a deliberate indifference claim for the failure to act after learning from a




                                               18
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 24 of 34 PageID #:1579




grievance that a prisoner diagnosed with PKD was not receiving a medically appropriate diet or

medical care. The court reasoned: “non-medical officials can be chargeable with deliberate

indifference where they have reason to believe (or actual knowledge) that prison doctors are

mistreating (or not treating) a prisoner.” Id. (internal citations and quotation marks omitted).

       Hutchinson’s conduct gives rise to liability under this legal framework because he

concedes that there was no renal diet available at Menard, and that he did absolutely nothing to

rectify or address that predicament. Hutchinson testified that he recalled no phone call, email,

conversation, or any other act directed at helping Brinson secure his medical diet. (PSOF ¶ 51.)

Instead, Hutchinson blithely told Brinson no renal diet was available at Menard, and passed him

along to Trost. (PSOF ¶ 47.) Hutchinson is likewise precluded from hiding behind the meritless

claim that “there is no evidence” he “was responsible for providing Plaintiff with a medical diet

once he arrived at Menard.” (ECF No. 127 at 5.) In addition to the fact that, as discussed above,

this defense is not legally viable, it’s also belied by Hutchinson’s testimony. Indeed, Hutchinson

testified that, as warden at Menard, his responsibilities included making sure medical care was

being provided to inmates correctly. (PSOF ¶ 44.)

       These facts, analyzed under the correct legal framework, create a basis for liability and

preclude summary judgment in Hutchinson’s favor. See, e.g., Ames v. Randle, 933 F. Supp. 2d

1028, 1037–38 (N.D. Ill. 2013) (“A defendant will be deemed to have sufficient personal

responsibility if he directed the conduct causing the constitutional violation, or if it occurred with

his knowledge or consent.”) (citation and internal quotation marks omitted); T.E. v. Grindle, 599

F.3d 583, 588 (7th Cir. 2010) (supervisors may be liable for deliberate indifference if they “know

about the [unconstitutional] conduct and facilitate it, approve it, condone it, or turn a blind eye

for fear of what they might see”) (citation and internal quotation marks omitted).




                                                 19
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 25 of 34 PageID #:1579




   E. There is Evidence Trost Acted with Deliberate Indifference to Brinson’s Medical
      Needs

       A reasonable jury could find two instances of Trost acting with deliberate indifference to

Brinson’s medical needs. First, Trost ignored Brinson’s need for a renal diet. Second, Trost

ignored the risk of infection from delaying Brinson’s referral to a vascular surgeon to receive a

permanent dialysis access site.

               1. Trost acted with deliberate indifference to Brinson’s dietary needs

       A reasonable jury could find that Trost knew Brinson needed a renal diet, but consciously

failed to take reasonable measures to secure the diet. While Brinson was incarcerated at

Stateville, specialists at UIC recommended that he receive a renal diet. Obaisi, the medical

director at Stateville, agreed with that recommendation and entered an order for a renal diet.

Documentation of these facts is in Brinson’s medical file, which Trost, as the medical director of

Menard, would have reviewed. Brinson also told Trost about his PKD and that he needed a renal

diet. Meanwhile, Trost testified that he would counsel renal patients like Brinson to refrain from

eating certain substances as part of their treatment, showing that he knew how critical diet is to a

PKD patient’s treatment. From this evidence, a reasonable jury could find that Trost knew

Brinson faced a substantial risk of harm if he did not have a renal diet. (PSOF ¶ 40.)

       The evidence also shows Trost disregarded the substantial risk of harm to Brinson. Trost

did not enter a renal diet order, did not speak with prison officials or kitchen staff at Menard

about providing a renal diet, and did not contact anyone at IDOC to inquire why a diet offered at

Stateville could not also be offered at Menard. (PSOF ¶ 40 (Trost explaining that the most he

could or would offer was dietary counseling).) See Sharif v. Ghosh, No. 12 C 2309, 2013 WL

228239, at *5 (N.D. Ill. Jan. 18, 2013) (failure to take reasonable steps to address serious medical

condition is deliberate indifference). Moreover, the reason Trost gave for his failure to enter a



                                                20
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 26 of 34 PageID #:1579




renal diet order is that Menard did not offer any therapeutic diets, including a renal diet. When

asked if renal diets were available at Menard, he explained: “To the best of my knowledge, no. I

mean, I know that there were no diabetic diets. I believe that there were no cardiac diets. And I’m

certain that there were no renal diets.” (PSOF ¶ 40 (emphasis added).) Trost’s testimony shows

that in failing to secure an appropriate diet for Brinson, he did not act pursuant to any medical

judgment that the diet was unnecessary; but rather deferred to the administrative belief that

Menard would not provide a renal diet. A doctor acts with deliberate indifference when he fails

to exercise medical judgment in this way. Roe, 631 F.3d at 862. Likewise, a doctor acts with

deliberate indifference when medical decisions are based on an inmate’s “simple misfortune” of

being housed in a facility that does not offer necessary care or, here, a necessary diet. See Brady

v. LaSalle Cty. Municipality, No. 1:14-cv-5545, 2019 WL 2754091, at *4 (N.D. Ill. June 28,

2019).

         A reasonable jury could also find that Trost acted with deliberate indifference because he

disregarded UIC specialists’ recommendation that Brinson should have a renal diet. While a

prison doctor may depart from specialist recommendations, it is deliberate indifference to do so

when that decision is not based on medical judgment, as was the case here. Zaya, 836 F.3d at

806 (“A jury can infer conscious disregard of a risk from a defendant’s decision to ignore

instructions from a specialist”).

                2. Trost acted with deliberate indifference to the risk of delaying Brinson’s
                   referral to a vascular surgeon

         A reasonable jury could also find that Trost knew Brinson faced a substantial risk of

harm from infection of the chest catheter that was inserted into Brinson on December 27, 2016

and that he deliberately ignored that risk.




                                                21
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 27 of 34 PageID #:1579




       Trost testified that he was aware that having a chest catheter presented a risk of infection

to Brinson. Trost even testified that, in view of the risk, Trost kept Brinson in the infirmary at

Menard, explaining: “I mean, you could not send an inmate out to a cell house with a catheter

exiting their body.” (PSOF ¶ 67.) The risk of infection also explains why Trost made an urgent

request on December 22, 2016 for Wexford to approve taking Brinson off-site to have an AV

graft inserted and the chest catheter removed. (PSOF ¶ 65.)

       Despite his ostensible appreciation for the risk of infection that Brinson faced, Trost

prevented Brinson from having surgery to insert an AV graft, which would have allowed the

catheter to be removed. Brinson was scheduled for that surgery on January 12, 2017. But as

reflected in a Wexford business record, Trost prevented the surgery by recommending that

Wexford cancel it. By preventing Brinson’s AV graft insertion, Trost necessarily caused Brinson

to continue to face risk of infection from the chest catheter. Trost made this decision knowing

that Brinson would be exposed to infection during his transfer back to Stateville and while

incarcerated at Stateville. Indeed, it was not until September 18, 2017, eight months after

Brinson was scheduled to have the AV graft insertion and more than nine months after he first

received the catheter, that the catheter was finally removed. Because Trost was aware of the

serious risk of infection and prevented that risk from being promptly addressed, a reasonable jury

could find that he acted with deliberate indifference. See Bentz v. Ghosh, 718 F. App’x 413, 417

(7th Cir. 2017)

       Moreover, a jury could find that Trost acted with deliberate indifference in cancelling the

AV graft insertion and removal of the catheter because that decision was not based on medical

judgment. Roe, 631 F.3d at 862. Trost’s reason for cancelling the surgery, according to

Wexford’s records, was that “[s]ince Brinson will only be getting a few dialysis treatments here




                                               22
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 28 of 34 PageID #:1579




before being transferred . . . the surgeon and hospital he will be using to get the dialysis

treatments [should] do the consult.” (PSOF ¶ 66.) The Wexford business record reflects no

medical reason for postponing the procedure. And Trost, for his part, did not recall any detail

other than that the procedure was postponed. (PSOF ¶ 66.) Moreover, by cancelling the surgery,

Trost ignored the recommendation of Dr. Hale that Brinson be evaluated by a vascular surgeon

within two to four weeks of having the chest catheter inserted. See Zaya, 836 F.3d at 806 (7th

Cir. 2016).

   II.        A Dispute Exists With Respect to Plaintiff’s Breach of Contract Claim

                 A. Legal Standard

         “Under well-settled Illinois law the elements for a breach of contract claim are (1) the

existence of a valid and enforceable contract, (2) plaintiff’s performance of the contract, (3)

defendant’s breach of the contract and (4) a resulting injury to the plaintiff.” Fabrica de Tejidos

Imperial, S.A. v. Brandon Apparel Grp., Inc., 218 F. Supp. 2d 974, 976 (N.D. Ill. 2002) (footnote

omitted) (citing Priebe v. Autobarn, Ltd., 240 F.3d 584, 587 (7th Cir. 2001)). As in this case,

where a plaintiff has adduced undisputed evidence of all the elements to support his breach of

contract claim, summary judgment in his favor is appropriate. Fabrica de Tejidos Imperial, S.A.,

218 F. Supp. 2d at 976 (resolving cross-motions for summary judgment on breach of contract

claim in plaintiff’s favor and ordering trial on the amount of damages only).

         Here, Wexford does not even address, let alone contest, three of the four required

elements to prove Brinson’s breach of contract claim. As a result, there appears to be no dispute

that Wexford’s settlement agreement with Brinson is a valid and enforceable contract; Brinson

performed his obligation under the contract by dismissing his prior lawsuit without prejudice;

and Brinson was damaged by Wexford’s alleged breach of the settlement agreement. (PSOF

¶¶ 74–81.) Instead, Wexford focuses its entire motion on the sole issue of whether it breached


                                                23
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 29 of 34 PageID #:1579




the settlement agreement by failing to provide Brinson with appropriate medical care, including a

renal diet. Because the record contains copious evidence that Wexford indeed breached its

obligations under the agreement, Wexford is not entitled to summary judgment on the breach of

contract claim.

                  B. A Reasonable Jury Could Find That Wexford Breached the Settlement
                     Agreement

       Wexford’s motion for summary judgment should be denied because a reasonable jury

could find that Wexford breached the settlement agreement in three ways. First, a reasonable jury

could find that Wexford breached its obligation “to follow all medical plans and/or

recommendations (the ‘Recommendations’) made by UIC specialists relative to plaintiff’s

PKD.” (Wexford SOF ¶ 2.) Second, a reasonable jury could find that Wexford breached its

obligations to follow the recommendations made by Dr. Hale, the surgeon who implanted

Brinson’s tunneled catheter when he was at Menard. Third, a reasonable jury could find that

Wexford breached its obligation to “ensure that a therapeutic diet order for a renal diet, per

IDOC guidelines and/or directives, is ordered and in place” while Brinson was incarcerated at

Menard. (Id. (emphasis added).)

                        1. Breach by Failure to Follow UIC Recommendations

       With respect to the “Recommendations” breach, Brinson must prove that a UIC specialist

set forth a medical plan or recommendation that Wexford failed to follow. The record contains

evidence from which a jury could find both these facts.

       The jury could find from the evidence that UIC specialists recommended Brinson return

to UIC for a follow-up nephrology appointment within four to six weeks of July 29, 2016. The

jury could also find that Wexford failed to follow this recommendation. Wexford’s corporate

representative, Dr. Neil Fischer, testified that Wexford’s Utilization Management team



                                               24
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 30 of 34 PageID #:1579




discovered in September 2016 that Brinson had not been scheduled for a follow-up until

December 2016. Utilization Management raised this issue with Obaisi, who despite having notes

from UIC stating that Brinson should return within just four weeks, approved the December

2016 follow-up appointment. (PSOF ¶¶ 9–12, 22.) Wexford deferred to Obaisi rather than meet

its contractual obligation to follow the Recommendation of UIC specialists that Brinson return

for a follow-up appointment within four to six weeks of July 29, 2016. Wexford thus breached

the Settlement Agreement. (PSOF ¶ 4.) These facts likely support a summary finding for Brinson

on his breach of contract claim. But at the very least, they preclude entry of summary judgment

for Wexford.

       Wexford nevertheless argues that judgment should be entered in its favor in view of its

defenses to this breach. Wexford’s first defense is that the law presumes a reasonable time for

performance. (ECF No. 131 at 14.) This principle only applies, however, when the parties do not

set a time for performance. Here, the Settlement Agreement set the time for performance by

reference to the Recommendation, and the UIC specialists recommended that Brinson return for

follow-up within four weeks. Brinson’s follow-up appointment was scheduled 19 weeks later,

and Brinson ultimately missed it. Those facts unequivocally demonstrate a breach of contract.

       Wexford’s second defense is that the Settlement Agreement “specifically allowed that

any recommendations by UIC must take into account the security environment in which Plaintiff

resides.” (ECF No. 131 at 14.) But Wexford cites no evidence suggesting that its failure to

follow the Recommendation that Brinson return to UIC for a follow-up appointment within four

weeks resulted from the security environment at Stateville. As a result, Wexford’s defense rings

hollow and should be rejected.

                      2. Breach by Failure to Arrange for Insertion of AV Graft




                                               25
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 31 of 34 PageID #:1579




       A reasonable jury could find that Wexford further breached the settlement agreement by

failing to follow the Recommendations of Dr. Hale, the specialist who treated Brinson while he

was at Menard. The Settlement Agreement provides that if UIC could not treat Brinson for any

reason, including Brinson’s transfer, Wexford could “substitute treatment at UIC for treatment at

another facility or community specialist.” (PSOF ¶ 64.) But Wexford would still be required to

follow the recommendations of any “substitute” specialists treating Brinson, and Wexford failed

to meet that obligation.

       While Brinson was at Menard, Dr. Hale recommended that he see a vascular surgeon

within two to four weeks of the December 27, 2016 catheter insertion surgery. (PSOF ¶ 64.)

Trost accepted this recommendation and passed it along to Wexford for approval; but then he

cancelled the appointment on the grounds that Brinson would be returning to Stateville. (PSOF

¶ 66.) Once Brinson returned to Stateville, Obaisi again requested Wexford’s approval for a

referral to an outside vascular surgeon; and Wexford again approved. (PSOF ¶ 69.) But Brinson

did not receive an AV graft and have the chest catheter removed until September 28, 2017.

(PSOF ¶¶ 72–73.) These facts show that Wexford was aware of Dr. Hale’s recommendation that

Brinson see a vascular surgeon sometime in January 2017; but it allowed him to go months

beyond that recommended timeframe without receiving care. As Dr. Hale testified at his

deposition, by delaying Brinson’s vascular surgery consultation, Wexford failed to follow his

recommendation. (PSOF ¶ 73.) This too provides a basis for a reasonable jury to find that

Wexford breached the Settlement Agreement.

                       3. Breach by Failure to Make Sure A Renal Diet Was “In Place”

       The Settlement Agreement also provides that “Wexford will ensure that a therapeutic diet

order for a renal diet, per IDOC guidelines and/or directives, is ordered and in place for plaintiff




                                                26
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 32 of 34 PageID #:1579




so long as it is deemed medically indicated by a UIC or other nephrologist.” (Wexford SOF ¶ 2

(emphasis added)). To prove Wexford breached this obligation, Brinson has to show that UIC

recommended a renal diet and that Wexford either failed to order the diet or, having ordered it,

failed to make sure it was “in place.”

       There is uncontested evidence that UIC specialists recommended a renal diet for Brinson.

There is also evidence in the record that Brinson did not receive a renal diet while he was

incarcerated at Menard and that no order was ever even entered for a renal diet. (PSOF ¶¶ 40–

41.) A reasonable jury could find from this evidence that Wexford breached its obligation to

order a renal diet for Brinson while he was incarcerated at Menard.

       Wexford nevertheless argues that summary judgment should be entered in its favor

because the Settlement Agreement provides that “It is agreed and understood that Plaintiff’s diet

is provided by IDOC in accordance with the IDOC dietary guidelines and directives over which

Wexford has no direct control.” (ECF No. 131 at 14.) Wexford has cited no evidence to support

its position that IDOC has dietary guidelines and directives that prohibit a renal diet. There is

evidence that no renal diet was offered at Menard. But Menard is a single facility, and the

Settlement Agreement refers to IDOC’s dietary guidelines. Moreover, this language does not

absolve Wexford from ordering a renal diet; it merely protects Wexford in the event that a renal

diet is not delivered to Brinson. As such, the language Wexford relies upon does not provide a

basis for judgment in its favor.

                                         CONCLUSION

       As set forth above and in Plaintiff’s Response to Defendants’ Statements of Fact and

Statement of Additional Facts, there is substantial evidence of Plaintiff’s claims against




                                               27
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 33 of 34 PageID #:1579




Defendants, which creates a dispute for the jury. The Court should therefore deny Defendants’

motions and permit this case to proceed to trial.

Dated: September 20, 2019                            Respectfully submitted,


                                                     BOB A. BRINSON

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                                                        One of His Attorneys

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                                                28
 Case: 1:17-cv-01659 Document #: 144 Filed: 09/20/19 Page 34 of 34 PageID #:1579




                                CERTIFICATE OF SERVICE

       I hereby certify that on September 20, 2019, I filed the foregoing document using the

Court’s CM/ECF system, which will send an electronic notice of filing to all counsel of record.


                                                    s/ Steven J. Yatvin




                                               29
